     Case 7:23-cv-00144      Document 12        Filed on 05/14/23 in TXSD         Page 1 of 21




                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                MCALLEN DIVISION


TEXAS BANKERS ASSOCIATION;
RIO BANK, MCALLEN, TEXAS; and
AMERICAN BANKERS ASSOCIATION
                                       Plaintiffs,

v.                                                       Case No: 7:23-cv-00144

CONSUMER FINANCIAL PROTECTION
BUREAU; and ROHIT CHOPRA, in his official
capacity as Director of the Consumer Financial
Protection Bureau,
                                      Defendants.


                              FIRST AMENDED COMPLAINT

        Plaintiffs Texas Bankers Association (TBA), Rio Bank, McAllen, Texas (Rio Bank), and

American Bankers Association (ABA) bring this action for declaratory and injunctive relief

against Defendants Consumer Financial Protection Bureau (CFPB) and Rohit Chopra (in his

official capacity as Director of the CFPB). Plaintiffs specifically challenge the Final Rule issued

by the CFPB on March 30, 2023 to amend Regulation B to implement changes to the Equal Credit

Opportunity Act (ECOA) made by § 1071 of the Dodd-Frank Wall Street Reform and Consumer

Protection Act (Dodd-Frank Act).

                                       INTRODUCTION

        1.     Bank loans to small businesses serve a critical role in the American economy.

The total estimated value of the U.S. small business lending market is in excess of $1 trillion. And
      Case 7:23-cv-00144             Document 12           Filed on 05/14/23 in TXSD        Page 2 of 21




according to recent Federal Reserve data, almost 70 percent of small businesses seeking a loan

applied to a bank for that type of credit. 1

           2.       Importantly—and has been consistently ignored by the CFPB during this rule-

making—small business loans play a larger role in the portfolios of smaller banks, like Rio Bank,

than they do in the portfolios of large institutions. For example, the average banking organization

with $1 billion or less in total assets held over 13 percent of its portfolio as small business loans in

June 2021. By contrast, those with assets greater than $10 billion only held approximately 6 percent

of their assets as such loans.

           3.       In an effort to bolster the loans made to minority and women-owned businesses, the

Dodd-Frank Act added a limited list of reporting requirements to banks and other small business

lenders in 2010.

           4.       Rather than advancing the goal of growing the number of loans made to minority

and women-owned businesses, though, the CFPB has now issued a rule that will hinder that aim.

           5.       That is because the agency took the original three pages of legislation with only 13

reporting data points required by the statute and turned them into almost 900 pages of rulemaking—

a new Final Rule that requires banks to develop and implement new software and compliance

mechanisms to address over 80 reporting requirements that have been exponentially grown by the

CFPB since the Act requiring this Rule was passed.

           6.       Unable to effectively comply with these burdensome and overreaching new

reporting requirements, the Final Rule will drive smaller providers from the market, causing a




1
    Availability of Credit to Small Businesses, Federal Reserve Board, p. 33 (Oct. 2022).



                                                            2
   Case 7:23-cv-00144             Document 12          Filed on 05/14/23 in TXSD             Page 3 of 21




decrease in the products available to all customers including minority and women-owned small

businesses.

        7.       While the CFPB was alerted to this concern during the pendency of the Rule, it chose

to ignore such concerns and paper over the lending community’s legitimate apprehensions with the

Rule as it was formulated.

        8.       The Supreme Court has recognized that the CFPB exercises “vast rulemaking,

enforcement, and adjudicatory authority over a significant portion of the U.S. economy.” Seila

Law, LLC v. CFPB, 140 S. Ct. 2183, 2210 (2020).

        9.       In addition to the breadth of its authority and the concentration of policy-making

power, the Fifth Circuit recently observed that the CFPB’s “funding scheme is unique across the

myriad independent executive agencies across the federal government. It is not funded with

periodic congressional appropriations.” Cmty. Fin. Servs. Ass’n of Am. v. CFPB, 51 F.4th 616 (5th

Cir. 2022).

        10.      This funding structure is not just unique, though—“Congress’s decision to abdicate

its appropriations power under the Constitution, i.e., to cede its power of the purse to the Bureau,

violates the Constitution’s structural separation of powers.” Id. at 623.

        11.      Because of the CFPB’s unconstitutional structure, Rules promulgated by the

Bureau are invalid and have been vacated (or enjoined) as a result. Id. at 643. 2

        12.      Plaintiffs now seek an order and judgment holding unlawful, enjoining, and setting

aside the ECOA Final Rule at issue in this case. The unconstitutional nature of the CFPB’s funding



2
  A petition for a writ of certiorari to review Community Financial was granted on Feb. 27, 2023 (U.S. No. 22-448)
and the CFPB’s opening brief was filed on May 8, 2023. The general expectation is that a Supreme Court decision
will occur at some point in 2024. Following Community Financial's determination that the CFPB is unconstitutional,
numerous stay orders in other CFPB cases have already been issued in the Fifth Circuit—see, e.g., CFPB v. Active
Network, LLC, 22-cv-898, ECF No.14 (E.D. Tex. Nov. 29, 2022)—and in other Circuits as well—see, e.g., CFPB v.
Rosen, 21-cv-7492, ECF No. 123 (C.D. Cal. Jan. 3, 2023).

                                                        3
   Case 7:23-cv-00144        Document 12        Filed on 05/14/23 in TXSD        Page 4 of 21




infects every aspect of the Rule at issue here as it would not have taken place—and certainly would

not have grown into the crushing behemoth just released by the CFPB—if the agency had not been

funded inappropriately and thereby lacked oversight.

       13.     The intervention of this Court is necessary to preserve the status quo with respect

to the subject matter of the Final Rule because the unconstitutionally promulgated Rule will

irreparably harm both Rio Bank and the covered memberships of the banking associations here—

overwhelmingly community banks—if allowed to go into effect.

       14.     In addition to the Constitutional infirmities that are fatal to the ECOA Final Rule,

portions of the Rule also violate various requirements of the Administrative Procedure Act (APA).

5 U.S.C. §§ 551–559.

       15.     Separately, then, the ECOA Final Rule should be invalidated or stayed under the

APA.

       16.     Absent immediate relief on these claims, the Associations’ community and mid-

size bank members will be forced into a compliance regime that will drive some members out of

the small business loan industry and that will force all members remaining in the industry to spend

significant sums of money preparing to comply with an illegitimate Rule—money that cannot be

recovered.

                                           PARTIES

       17.     Plaintiff Texas Bankers Association (TBA) is America’s oldest and largest state

banking organization in the United States. TBA advocates in both Austin and Washington D.C.

for its 400 member banks across Texas.         The Association also invests directly in Texas

communities through financial literacy, scholarships, and other charitable activities. TBA’s

membership consists of mostly small to medium size banks with a median asset size of



                                                4
   Case 7:23-cv-00144        Document 12        Filed on 05/14/23 in TXSD         Page 5 of 21




approximately $357 million. While its banks employ over 200,000 individuals, the median

employment of its member banks is fewer than 50. As a bankers’ organization, TBA has standing

as an adversely affected party to appear on behalf of its members.

        18.     Plaintiff Rio Bank is Minority Depository Institution (MDI) bank in McAllen,

Texas. Its Board of Directors is a majority Hispanic and approximately 90% to 95% of its market

is Hispanic. The bank has approximately $900 million in total assets with 14 locations throughout

the Rio Grande Valley—extending from Roma to Brownsville—and employs about 200 people.

Rio Bank makes small business and agricultural loans to small businesses in the Valley, allowing

them to expand their operations, add new customers, hire more employees, and, most importantly,

promote the economic opportunities for the growing population in those counties the bank serves.

In 2022, Rio Bank made 409 small business and agricultural loans in a total amount of $117

million.

        19.     Plaintiff American Bankers Association (ABA) serves as the voice of the nation’s

$23.6 trillion banking industry, which is composed of small, regional, and large banks that together

employ more than 2 million people, safeguard $19.2 trillion in deposits, and extend $12.2 trillion

in loans. ABA advocates for banks before Congress, regulatory agencies, and the courts to drive

pro-growth policies that help customers, clients, and communities thrive.          ABA regularly

advocates before the CFPB to promote regulatory and supervisory policies that protect consumers,

while also ensuring that markets for consumer financial products and services are fair, transparent,

and competitive.

        20.     Defendant CFPB is an agency of the United States. 12 U.S.C. § 5491(a).

        21.     Defendant Rohit Chopra is the Director of the CFPB. Director Chopra is sued in

his official capacity.



                                                 5
     Case 7:23-cv-00144       Document 12       Filed on 05/14/23 in TXSD         Page 6 of 21




                                JURISDICTION AND VENUE

        22.     This Court has subject-matter jurisdiction because this case arises under the

Constitution and laws of the United States. U.S. Const. Art III, § 2; 28 U.S.C. §§ 1331, 2201;

5 U.S.C. §§ 701–706.

        23.     This Court is authorized to award the requested relief under 5 U.S.C. § 706;

28 U.S.C. § 1361; and 28 U.S.C. §§ 2201–2202.

        24.     Venue is proper in this district because Defendants include a United States agency

and an officer sued in his official capacity and because Plaintiff Rio Bank—a member of TBA—

is located in this district and in this division (along with other member institutions). 28 U.S.C.

§ 1391(e)(1).

                                  FACTUAL ALLEGATIONS

I.      The History And Unconstitutional Funding Structure Of The CFPB.

        25.     Congress passed the Dodd-Frank Act in 2010 as a response to the 2008 financial

crisis. Pub. L. No. 111-203. Title X of the Act is the Consumer Financial Protection Act of 2010

(CFPA).

        26.     Title X established the CFPB and placed it in charge of regulating individuals and

entities that provide financial products and services such as loans for small businesses.

        27.     The CFPB was given broad authority to create and enforce U.S. consumer

protection laws. The Agency possesses the power to “prescribe rules or issue orders or guidelines

pursuant to” nineteen distinct consumer protection laws whose implementation was transferred to

the Bureau from seven different government agencies. 12 U.S.C. § 5581(a).

        28.     Section 1021(a) of the CFPA requires the CFPB to implement and enforce

consumer financial law “consistently for the purpose of ensuring that all consumers have access



                                                 6
   Case 7:23-cv-00144           Document 12       Filed on 05/14/23 in TXSD        Page 7 of 21




to markets for consumer financial products,” and to ensure that “consumers are provided with

timely and understandable information to make” their own “responsible decisions about financial

transactions.”

         29.     Moreover, Section 1022(a) of the Act provides that, in exercising its rulemaking

authority, the Bureau must consider “the potential benefits and costs to consumers and covered

persons, including the potential reduction of access by consumers to consumer financial products

or services resulting from such rule” and “the impact of proposed rules on covered persons … and

the impact on consumers in rural areas.”

         30.     While courts have recognized the “staggering amalgam of legislative, judicial, and

executive power in the hands of a single Director” at the agency—CFPB v. All American Check

Cashing, Inc., 33 F.4th 218, 221–22 (5th Cir. 2021) (Jones, J., concurring)—the Fifth Circuit

recently commented that the “[m]ost anomalous” aspect of the CFPB “is the Bureau’s self-

actualizing, perpetual funding mechanism.” Community Financial, 51 F.4th at 638. “While the

great majority of executive agencies rely on annual appropriations for funding, the Bureau does

not. Instead, each year, the Bureau simply requisitions from the Federal Reserve an amount

‘determined by the Director to be reasonably necessary to carry out’ the Bureau’s functions.” Id.

(citing 12 U.S.C. § 5497(a)).

         31.     The Bureau thus “receives funding directly from the Federal Reserve, which is itself

outside the appropriations process through bank assessments.” Id. (citing Seila Law, 140 S. Ct. at

2194).

         32.     This means, however, that “Congress did not merely cede direct control over the

Bureau’s budget by insulating it from annual or other time limited appropriations. It also ceded

indirect control by providing that the Bureau’s self-determined funding be drawn from a source



                                                  7
    Case 7:23-cv-00144             Document 12           Filed on 05/14/23 in TXSD               Page 8 of 21




that is itself outside the appropriations process—a double insulation from Congress’s purse strings

that is ‘unprecedented’ across the government.” Id. at 638–39 (quoting All American Check

Cashing, 33 F.4th at 225 (Jones, J., concurring)).

         33.      “But Congress went to even greater lengths to take the Bureau completely off the

separation-of-powers books. Indeed, it is literally off the books: Rather than hold funds in a

Treasury account, the Bureau maintains ‘a separate fund, . . . the “Bureau of Consumer Financial

Protection Fund,”’ which ‘shall be maintained and established at a Federal [R]eserve bank.’ This

fund is ‘under the control of the Director,’ and the monies on deposit are permanently available to

him without any further act of Congress. Thus, contra the Federal Reserve, the Bureau may ‘roll

over’ the self-determined funds it draws ad infinitum.” Id. at 639 (citations omitted).

         34.      Because of this funding scheme, the Fifth Circuit has concluded that “the Bureau’s

funding is double-insulated on the front end from Congress’s appropriations power. And Congress

relinquished its jurisdiction to review agency funding on the back end. In between, Congress gave

the Director its purse containing an off-books charge card that rings up ‘[un]appropriated monies.’

Wherever the line between a constitutionally and unconstitutionally funded agency may be, this

unprecedented arrangement crosses it.” Id.

         35.      As a result, “[t]he Bureau’s funding apparatus cannot be reconciled with the

Appropriations Clause and the clause’s underpinning, the constitutional separation of powers.” Id.

at 642. 3




3
 Because “without its unconstitutional funding, the Bureau lacked any other means to promulgate the rule,” and
because “the Bureau’s improper use of unappropriated funds to engage in the rulemaking at issue” caused the plaintiffs
harm, the remedy was to “vacate the [rule] as the product of the Bureau’s unconstitutional funding scheme.” Id. at
643.

                                                          8
      Case 7:23-cv-00144      Document 12       Filed on 05/14/23 in TXSD         Page 9 of 21




II.      The Proposed ECOA Rule.

         36.   Section 1071 of the Dodd-Frank Act consists of three pages of statutory text

amending the ECOA to “inquire whether the business is a women-owned, minority-owned, or

small business” and require that the accumulated data be submitted annually to the CFPB. Public

Law No: 111-203, 124 Stat. 2056 (in part)–2059 (in part) (July 21, 2010).

         37.   The legislation further directed financial institutions to collect and report 13

specific credit data points such as the amount of the credit application and the action taken on the

application.

         38.   On September 1, 2021, the CFPB issued a Proposed Rule implementing these

statutory directives from § 1071.

         39.   Rather than hewing closely to the text of the Act, though, the CFPB’s proposed rule

looked to vastly expand the categories of information on which data would be sought from banks

and other financial institutions.

         40.   The Proposed Rule added almost 70 additional categories to § 1071’s list of data

and sub-data points. These included, among other things, census tract for use of loan proceeds,

loan guarantees, loan terms, counteroffer, denial reasons, comprehensive pricing information,

origination charge, any annual fees, any broker fee, prepayment penalty, number of workers, and

time in business.

         41.   During the notice and comment period, the overwhelming number of comments

submitted by parties subject to the rule characterized it as excessively overbroad in terms of its

data points, the impact it would have on the small business lending market, and the costs it would

impose on banks and other small business lenders.




                                                 9
  Case 7:23-cv-00144         Document 12       Filed on 05/14/23 in TXSD         Page 10 of 21




       42.     In their combined letter, the National Association of Federal Credit Unions and the

Credit Union National Association commented that “the Proposed Rule’s complexity and

significant costs will weigh disproportionately on credit unions in ways that ultimately lead to

fewer and less favorable outcomes for all small business borrowers.” Letter from Nat’l Ass’n of

Fed. Credit Unions (Jan. 6, 2022).

       43.     The American Financial Services Association commented to the CFPB that, while

the proposed rule stated that it is intended to “help small businesses drive inclusive and equitable

growth,” the overly burdensome data collection requirements that exceeded the Congressional

mandate could result in a reduction of available credit, thus having the opposite effect of what

Congress intended.

       44.     Echoing that concern, the § 1071 comment letter of the U.S. Small Business

Administration’s Office of Advocacy said that the CFPB’s approach “may be unnecessarily

burdensome to small entities, may impact the cost of credit for small businesses and may lead to

a decrease in lending to small, minority- and women-owned businesses.”

       45.     Importantly, the Conference of State Bank Supervisors (CSBS)—an organization

consisting of state-government officials “charged with protecting consumers and ensuring the

safety and soundness of the financial institutions they supervise” in addition to “fostering

economic development opportunities within their states”—also spoke out against the overreach of

the Proposed Rule.

       46.     The CSBS warned that the Proposed Rule “will likely hinder the ability of

community banks to continue to serve as an important source of small business credit in

communities across the country.”




                                                10
    Case 7:23-cv-00144         Document 12         Filed on 05/14/23 in TXSD            Page 11 of 21




         47.    The CSBS Jan. 6, 2022 Comment Letter thus recommended that the Bureau “limit

the reportable data to the statutorily mandated data points required by section 1071. The Bureau

should refrain from using its discretionary authority to require collection of additional data points

until it is proven that the discretionary information is necessary to fulfill the purposes of section

1071.”

III.     The Cost/Benefit Analysis Performed On The Proposed ECOA Rule.

         48.    For decades, federal agencies have been required to consider the costs and benefits

of certain regulations that are expected to have large economic effects to ensure that the benefit of

a regulatory initiative justifies its costs. See, e.g., Executive Order 12291; Executive Order 12866.

         49.    In response to this requirement, the CFPB undertook a purported cost-benefit

analysis of the Proposed Rule. The result, however, was incomprehensible. A fundamental flaw

can be seen in the explanation provided for its methodology: “In particular, we use a Bayesian

independent univariate conditional multiple ordinary least squares (OLS) regression model. We

can use a Bayesian multiple OLS regression model because the data are missing at random (MAR).

We need to impute data for multiple variables, origination number and dollar volume. Because

the missing variables are monotone, we can use an independent univariate conditional model to

generate the multivariate imputations.” CFPB Supplemental Estimation at 4 (September 2021). 4

This methodology is not only indecipherable, it fails to account for the higher proportion of small

business loans generated by rural, small, and other community banks.

         50.    Methodology aside, it later became evident that the CFPB did not even attempt to

estimate the full extent of lenders’ cost in terms of implementing the ECOA Final Rule. This was

evident in three ways.


4
  Available at https://files.consumerfinance.gov/f/documents/cfpb_section-1071-nprm-supplemental-estimation-
methodologies_report_2021-09.pdf.

                                                    11
     Case 7:23-cv-00144             Document 12          Filed on 05/14/23 in TXSD         Page 12 of 21




           51.      First, the CFPB has admitted that its Cost Survey was limited to only 13 of the

eventual 81 data fields.

           52.      Second, and providing no added basis, “the Bureau c[ould] only estimate how

ongoing costs would be different,” but suggested that “going from 13 statutory data points to 81

in the Final Rule would increase compliance costs by $10,000,000 per year.” 86 Fed. Reg. 56354.

           53.      Third, and as previously noted, the CFPB did not differentiate aggregate industry

numbers between banks of various sizes to account for the fact that total small-business loans as a

percentage of total loans decline as bank size increases (even though this consideration was

brought to the CFPB’s attention by researchers at Texas Tech University).

           54.      In a comment letter to the CFPB, the Texas Tech researchers submitted data

indicating that for banks with $100 million or less in total assets, small-business loans comprised

about 40 percent of their total loan portfolio but for banks with more than $10 billion in total assets,

small-business loans are only about 10 percent of their portfolios. A Comment on Implementing

Section 1071 of the Dodd-Frank Act, Texas Tech University Rawls College of Business (Dec. 16,

2021).

           55.      In other words, compliance costs for the Rule would affect community banks and

smaller lending institutions disproportionately because of the greater percentage of small-business

loans that make up the business of those lenders.

IV.        The ECOA Final Rule.

           56.      The CFPB’s ECOA Final Rule was promulgated on March 30, 2023.

           57.      In the exercise of its discretionary authority, the CFPB transformed its three-page

statutory mandate into an 887-page, single-spaced Final Rule. 5



5
    Available at https://files.consumerfinance.gov/f/documents/cfpb_1071-final-rule.pdf.

                                                          12
  Case 7:23-cv-00144         Document 12       Filed on 05/14/23 in TXSD        Page 13 of 21




         58.    Concurrent with the publication of the Final Rule, the CFBP issued a “Small

Business Lending Rule: Data Points Chart” that sets forth 81 separate data or sub-data points.

Small Business Lending Rule: Data Points Chart (consumerfinance.gov) (Version 1, Mar. 30,

2023).

         59.    This represents an enlargement of the requisite data points by over 600 percent.

         60.    In the supplementary material accompanying publication of the Final Rule, the

CFPB acknowledged that, during the rulemaking process, it considered but rejected an alternative

approach that would have limited data collection only “to the statutorily required data points

enumerated in section 1071.”

         61.    When expanding the statutorily-required data set, the CFPB ostensibly claimed to

have considered the costs associated with the expanded data set it would be requiring of financial

institutions.

         62.    Tellingly, though, the CFPB did not dispute the comments of the U.S. Small

Business Administration’s Office of Advocacy, but merely dismissed them with a notation that “it

expects the variable portion of ongoing costs to be passed on to small business credit borrowers

in the form of higher interest rates and fees.” Final Rule at 780 (emphasis added).

         63.    The CFPB similarly ignored the other outside comment letters, issuing a Final Rule

in substantially the same form as was proposed without justification why it was dismissing the

concerns made known in the notice and comment period.

         64.    The CFPB also disclosed that the respondents to its “One-Time Cost Survey were

instructed to assume that they would only be reporting on the mandatory (i.e., statutory) data

fields.” 86 Fed. Reg. 56356, 56564 (Oct. 8, 2021).




                                                13
     Case 7:23-cv-00144     Document 12         Filed on 05/14/23 in TXSD      Page 14 of 21




         65.   In terms of justifying the regulatory enlargement, the CFPB baldly asserted that

expanding the collection requirements with an additional 68 (non-statutory) data points “would

aid in fulfilling the purposes of section 1071.” 86 Fed. Reg. at 56356.

V.       Immediate And Irreparable Harms Caused By The ECOA Final Rule.

         66.   A Final Rule becomes law when duly prescribed, regardless of when it goes into

effect and is actionable under the APA. 5 U.S.C. § 551(4).

         67.   As a result, the Associations’ members must begin immediately to undertake

substantial expenses in preparation for the scheduled 2024 implementation of the ECOA Final

Rule. See Exhibit A, Declaration of Celeste M. Embrey; Exhibit B, Declaration of Ford Sasser;

& Exhibit C, Declaration of Virginia O’Neill.

         68.   For Rio Bank—like almost all of the TBA and ABA members, mostly community

banks—this compliance activity will include selecting new computer software systems (that are

yet to be created to address the requirements of the Rule); training employees; and hiring outside

managers for the implementation of the information collection, report preparation, intra-company

segmentation procedures, and overall privacy protection needed to safeguard the extensive

accumulation of personal, demographic, and sexual orientation data mandated by the ECOA Final

Rule.

         69.   The over-reaching ECOA Final Rule will force small and rural banks with limited

staff and resources to put more resources into government reporting rather than lending in the

community.

         70.   In addition, federal and state financial regulatory authorities will, per standard

examination practices, require the Association’s members to demonstrate their progress toward




                                                14
    Case 7:23-cv-00144        Document 12         Filed on 05/14/23 in TXSD           Page 15 of 21




identifying and initiating compliance with the ECOA Final Rule during examinations and other

agency communications.

        71.     These compliance costs—spent in service of a Rule that was improperly

promulgated, see Community Financial, 51 F.4th at 642–43—are not recoverable.                       (The

compliance costs would also be unrecoverable under the APA claims at issue in this case.)

        72.     These initial compliance costs will be approximately $100,000 per community

bank—an unrecoverable loss of hundreds of millions of dollars to TBA and ABA members.

        73.     The ABA survey results further indicate, from a personnel standpoint, that 88% of

respondents will need to hire more full-time employees (FTEs) to comply with the data collection

and submission requirements of the proposed rule and to conduct fair lending analysis of the data.

The mean number of new FTEs required was three, but some community banks indicated they

would need to hire 10 FTEs. Exhibit C.

        74.     As the Fifth Circuit has recognized, “a regulation later held invalid almost always

produces the irreparable harm of nonrecoverable compliance costs.” Texas v. EPA, 829 F.3d 405,

433 (5th Cir. 2016).

        75.     Compounding the harms caused by the Final Rule itself is the CFPB’s inability to

handle the type of information it seeks from its regulated entities. The Bureau recently had a data

breach involving sensitive information on dozens of financial institutions and potentially hundreds

of thousands of customers. CFPB’s ‘Disturbing’ Data Breach Sparks Ire, Credibility Doubts,

Law 360 (Apr. 26, 2023). 6




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  Available at https://www.law360.com/banking/articles/1601072?nl_pk=399f8e17-84ef-4f0d-8aa7-7bfd983d0ef5&
utm_source=newsletter&utm_medium=email&utm_campaign=banking&utm_content=2023-0426&nlsidx=0&nlaid
x=0.

                                                   15
  Case 7:23-cv-00144         Document 12          Filed on 05/14/23 in TXSD       Page 16 of 21




        76.     Two months after the breach, American Banker reported that CFPB has still not

notified affected consumers. This demonstrates that CFPB is not prepared to quickly and

effectively respond to a data breach in its larger operations, further indicating that CFPB is unable

to adequately assess the security and privacy impacts of its massive § 1071 data collection on small

businesses.

        77.     This is both made possible and exacerbated by the agency’s unconstitutional

funding structure under which Congress does not have the ability to perform proper oversight nor

hold the agency accountable.

                                              COUNT I
                                      CFPB Funding Structure
                              Violation of the Constitution and APA
                          (Article I, § 9, Clause 7; 5 U.S.C. § 706(2)(A))

        78.     Plaintiff adopts by reference the preceding paragraphs of this Complaint as if fully

set forth herein.

        79.     As seen in Community Financial, the CFPB’s funding structure violates the U.S.

Constitution’s structural separation of powers.

        80.     The ECOA Final Rule here was promulgated under precisely the same procedures

as the rule that was voided in Community Financial, i.e., reliance upon the same CFPB funding

mechanism which compelled the voiding the rule in Community Financial as the product of the

Bureau’s unconstitutional funding scheme.

        81.     Because the ECOA Final Rule was issued with funds derived from unconstitutional

sources, it violates the Constitution (and, as a result, also the APA). Community Financial,

51 F.4th at 642. Because the Final Rule was promulgated in violation of the U.S. Constitution,

and because it directly harms TBA and ABA member institutions—including Rio Bank—it is

invalid and must be set aside. See id. at 643.

                                                  16
  Case 7:23-cv-00144           Document 12        Filed on 05/14/23 in TXSD        Page 17 of 21




        82.       Additionally, under the APA, agency action must be vacated if it is “not in

accordance with law.” 5 U.S.C. § 706(2)(A).

        83.       Per Community Financial, the Final Rule—as a final action taken by the CFPB—

is “not in accordance with law” and must be “h[e]ld unlawful and set aside” for that reason, too.

See 51 F.4th at 643.

                                             COUNT II
                                        Abuse of Discretion
                        Promulgating a Final Rule Beyond the Statutory Scope
                                       (5 U.S.C. § 706(2)(C))

        84.       Plaintiff adopts by reference the preceding paragraphs of this Complaint as if fully

set forth herein.

        85.       The APA provides that agency actions are to be set aside when found to be an abuse

of agency discretion. 5 U.S.C. § 706.

        86.       Defendants acted in excess of their authority and short of statutory right by

expanding 13 data points prescribed in § 1071 of the Dodd-Frank Act to 81 in the Final Rule

without any basis in the administrative record to do so.

        87.       While claiming the CFPB is authorized under § 1071 to compile “any additional

data that the Bureau determines would aid in fulfilling the purpose of the statute,” the additional

information now sought by the expanded Final Rule far outstrip the statute’s purposes.

        88.       Moreover, the Final Rule will—in fact—operate to undermine the express purpose

of the statute.

        89.       By adding even more burdensome compliance requirements on institutions such as

MDI Rio Bank, it will work to decrease the number of banks willing to participate in this lending

space. Many banks simply cannot afford the compliance costs and will thus abandon the field.




                                                   17
  Case 7:23-cv-00144          Document 12         Filed on 05/14/23 in TXSD      Page 18 of 21




        90.     As noted by commenters to the Proposed Rule, the result will be less money

available to minority and women-owned businesses stemming from the Bureau’s overzealousness

in drafting requirements that exceed the scope of § 1071.

        91.     Because the Final Rule violates the APA, all data points in excess of the 13

specified in the underlying statute should be invalidated and be set aside.

                                           COUNT III
                                      Arbitrary & Capricious
                Failure to Account for Comments Relevant to the Statute’s Purpose
                                      (5 U.S.C. § 706(2)(A))

        92.     Plaintiff adopts by reference the preceding paragraphs of this Complaint as if fully

set forth herein.

        93.     The APA requires that federal agencies such as the CFPB respond to relevant and

significant issues that are raised by interested parties.

        94.     And a reviewing court “must set aside agency action if the agency ‘entirely failed

to consider an important aspect of the problem, offered an explanation for its decision that runs

counter to the evidence before the agency, or is so implausible that it could not be ascribed to a

difference in view or the product of agency expertise.’” Sw. Elec. Power Co. v. EPA, 920 F.3d

999, 1013 (5th Cir. 2019) (quoting Motor Vehicle Mfrs. Ass’n of US v. State Farm Mut. Auto Ins.

Co., 463 U.S. 29, 43 (1983)).

        95.     The notice and comment period alerted the CFPB to the alarming costs that would

be imposed on the small to mid-sized banks if the Final Rule were to expand the statutory

categories at issue.

        96.     As set forth above, however, Defendants acted arbitrarily and capriciously by

failing to consider and respond to significant comments raised by adversely affected parties.




                                                  18
  Case 7:23-cv-00144         Document 12         Filed on 05/14/23 in TXSD         Page 19 of 21




        97.     But when an agency determines to go beyond its specifically prescribed powers,

the APA necessitates that it must first “examine the relevant data and articulate a satisfactory

explanation for its action.” State Farm, 463 U.S. at 30.

        98.     While claiming the CFPB is authorized under § 1071 to compile “any additional

data that the Bureau determines would aid in fulfilling the purpose of the statute,” the agency did

not attempt to square that authority with the purposes of the statute to encourage additional

lending—especially to minority and women-owned businesses. Thus any “determination” that the

statute’s purposes are aided by the significant expansion of the Rule is without support in the

administrative record.

        99.     Because the Final Rule violates the APA, it should be invalidated and be set aside.

                                           COUNT IV
                                     Arbitrary & Capricious
                                  Improper Cost/Benefit Analysis
                                      (5 U.S.C. § 706(2)(A))

        100.    Plaintiff adopts by reference the preceding paragraphs of this Complaint as if fully

set forth herein.

        101.    Since the 1970s, federal agencies have been required to consider the costs and

benefits of certain regulations that are expected to have large economic effects to ensure that the

benefit of a regulatory initiative justifies its costs. See, e.g., Executive Order 12866.

        102.    Defendants promulgated the Final Rule without undertaking a proper cost/benefit

analysis.

        103.    Indeed, the CFPB failed to account for both: (1) the disproportionate cost of the

Final Rule on small banks (that make the most loans to small businesses); and (2) the fact that the

Final Rule would likely cause a decrease in loan availability to women and minority owned

businesses.


                                                  19
  Case 7:23-cv-00144          Document 12        Filed on 05/14/23 in TXSD          Page 20 of 21




       104.    And rather than undertaking a proper accounting, the agency took the costs

associated with collecting the 13 statutory data points and substituted it for the costs associated

with collecting 81 different types of information.

       105.    Moreover, the CFPB conceded that additional costs would be “passed on to small

business credit borrowers in the form of higher interest rates and fees.” Final Rule at 780.

       106.    Yet § 1022(a) of the Act commands that the Bureau consider “the potential benefits

and costs to consumers and covered persons, including the potential reduction of access by

consumers to consumer financial products or services resulting from such rule” and “the impact of

proposed rules on covered persons . . . and the impact on consumers in rural areas.”

       107.    The available information indicated that the Final Rule would increase costs and

lower product accessibility to small business owners. But the Bureau forged ahead with the Rule

anyway, failing to articulate a satisfactory explanation for its action, including a “rational

connection between the facts found and the choice made.” State Farm, 463 U.S. at 43 (quoting

Burlington Truck Lines v. United States, 371 U.S. 156, 168 (1962)).

       108.     Indeed, “[i]llogic and internal inconsistency are characteristic of arbitrary and

unreasonable agency action.” U.S. Chamber of Commerce v. U.S. Dep’t of Labor, 885 F.3d 360,

382 (5th Cir. 2018).

        109.    Without meaningful distinctions with respect to separating cost estimates based on

the differential in the size of the small business loan portfolio per the size of a given bank’s assets,

the compliance costs which have been factored into the Final Rule are unsubstantiated.

       110.    Because the CFPB “entirely failed to consider [this] important aspect of the

problem,” its action adopting the Final Rule must be set aside. See Southwestern Electric, 920 F.3d

at 1013.



                                                  20
  Case 7:23-cv-00144        Document 12        Filed on 05/14/23 in TXSD       Page 21 of 21




                                    PRAYER FOR RELIEF

WHEREFORE, Plaintiffs ask this Court to enter judgment in their favor and to provide the

following relief:

       A. a declaration that the CFPB’s ECOA Final Rule adopted on March 30, 2023

           relies on the same unconstitutional grounds as Community Financial and was

           also adopted in substantial non-compliance with the APA;

       B. both a preliminary and permanent injunction setting aside and holding unlawful

           the CFPB’s ECOA Final Rule;

       C. attorney’s fees and costs incurred in relation to this case; and

       D. such other and further relief as the Court deems just and proper.



May 14, 2023                                         Respectfully submitted,

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                                                21
